8:11-cr-00287-RFR-MDN       Doc # 206     Filed: 06/06/12     Page 1 of 1 - Page ID # 599




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:11CR287
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                     ORDER
                                            )
THOMAS E. JOHNSON,                          )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant’s motion for release to attend a

funeral (Filing No. 205). The motion is opposed.

      IT IS ORDERED that the Defendant’s motion for release to attend a funeral (Filing

No. 205) is denied.

      DATED this 6th day of June, 2012.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                Chief United States District Judge
